  Metropolitan Tabernacle Church v. City of Chattanooga

                         Complaint Exhibit 5:

                 Mayor's Executive Order 2020-06




Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 1 of 20 PageID #: 51
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 2 of 20 PageID #: 52
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 3 of 20 PageID #: 53
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 4 of 20 PageID #: 54
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 5 of 20 PageID #: 55
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 6 of 20 PageID #: 56
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 7 of 20 PageID #: 57
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 8 of 20 PageID #: 58
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 9 of 20 PageID #: 59
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 10 of 20 PageID #: 60
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 11 of 20 PageID #: 61
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 12 of 20 PageID #: 62
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 13 of 20 PageID #: 63
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 14 of 20 PageID #: 64
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 15 of 20 PageID #: 65
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 16 of 20 PageID #: 66
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 17 of 20 PageID #: 67
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 18 of 20 PageID #: 68
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 19 of 20 PageID #: 69
Case 1:20-cv-00100-JRG-SKL Document 1-7 Filed 04/16/20 Page 20 of 20 PageID #: 70
